                 IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                                      )
                                             )
 DECATUR ATHLETIC CLUB, LLC,                 ) CASE NO. 17-81439-CRJ11
 EIN: XX-XXX2840                             ) CHAPTER 11
                                             )
      Debtor.                                )




        FOURTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF
                    DECATUR ATHLETIC CLUB, LLC
                 DEBTOR AND DEBTOR-IN-POSSESSION




                                      APRIL 19, 2018




Stuart M. Maples
MAPLES LAW FIRM, PC
200 Clinton Avenue West, Suite 1000
Huntsville, Alabama 35801
(256) 489-9779 – Telephone
(256) 489-9720 – Facsimile
smaples@mapleslawfirmpc.com

Attorney for Debtor-in-Possession




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    DEBTOR’S FOURTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                      DATED APRIL 19, 2018, 2018

       In accordance with 11 U.S.C. § 1124, Decatur Athletic Club, LLC, debtor-in-possession
("Debtor") in the above captioned Chapter 11 case files this Plan of Reorganization dated April
19, 2018 (the "Plan"), in the United States Bankruptcy Court for the Northern District of Alabama,
Northern Division ("Bankruptcy Court" or "Court").

                                               I.
                                          DEFINITIONS

        The following terms shall have the following meanings unless the context otherwise
requires and, unless otherwise indicated, the singular shall include the plural. The definitions
contained in §§ 101 and 1101 of the Bankruptcy Code shall control unless different definitions are
stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

1.01   "Accounting Fees" means accounting and/or administrative management fees for
       preparing tax returns and other financial reports.

1.02   "Administrative Claim" means a claim for any cost or expense of administration of the
       Reorganization Case allowed under § 503(b) of the Bankruptcy Code, including without
       limitation any claim for the actual and necessary costs and expenses of preserving the
       Debtor' estate and all allowances of compensation or reimbursement of expenses to the
       extent allowed by the Bankruptcy Court.

1.03   “ADOR” means the Alabama Department of Revenue.

1.04   "Allowed Amount" means the amount of any Allowed Claim.

1.05   "Allowed Claim" means:

       (a)     Any Claim in any Class:

               (i)     proof of which has been filed with the Bankruptcy Court prior to the Bar
                       Date, or which have been scheduled by the Debtor and not shown as
                       disputed, contingent, or unliquidated; and

               (ii)    to which no objection has been made within the Disclosure Statement or to
                       which no objection is filed within thirty (30) days of the date of the effective
                       date or which has been allowed by Final Order; or

       (b)     Any Administrative Claim for which a motion or fee application has been filed and
               approved by the Court.

1.06   "Allowed Secured Claim" means a claim that is both an Allowed Claim and a Secured
       Claim.



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1.07   "Allowed Unsecured Claim" means a claim that is both an Allowed Claim and an
       Unsecured Claim.

1.08   "Bankruptcy Code or Code" means Chapter 11 of Title 11, United States Code.

1.09   "Bankruptcy Court" or "Court" means the United States Bankruptcy Court for the
       Northern District of Alabama, Northern Division.

1.010 "Bankruptcy Rule" or "Bankruptcy Rules" means one or more of the Federal Rules of
      Bankruptcy Procedure.

1.11   "Bar Date" means the date established by the Court as the deadline for filing all Claims.
       Bar date for governmental claim holders in a Chapter 11 case is 180 days from the date of
       filing. Claims filed after the Bar Date, which are not otherwise Allowed Claims, will be
       disallowed and of no effect.

1.12   "Claim" means a claim or interest as defined by the Code.

1.13   "Class" means one of the classes of allowed claims or equity interests established by the
       Plan.

1.14   "Confirmation Date" means the date of the Confirmation Order becoming final.

1.15   "Confirmation Order" means the Final Non-Appealable Order of the Court determining
       that the Plan meets the requirements of the Bankruptcy Code and is entitled to
       confirmation.

1.16   "Court" means the United States Bankruptcy Court for the Northern District of
       Alabama, Northern Division.

1.17   "Debtor" means Decatur Athletic Club, LLC.

1.18   "Disbursing Agent" means Jeremy Goforth.

1.19   "Effective Date" means thirty (30) days after the Confirmation Date.

1.20   "Filing Date" with respect to the Debtor means May 10, 2017, the date on which the case
       was commenced by the Debtor filing for relief under Chapter 11 of the Bankruptcy Code.

1.21   "Final Decree" means the Order entered by the Bankruptcy Court which closes the case.

1.22   "Final Order" means:

       A.     An order of the Court that has become conclusive of all matters adjudicated by such
              order and:

              (i)    that is not the subject of a pending appeal and for which the time to appeal
                     or seek review or rehearing of such order has expired, or


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              (ii)    that is the subject of a pending appeal but has not been stayed or as to which
                      no supersedeas bond has been posted.

1.23   "IRS" means the United States Treasury, Internal Revenue Service.

1.24   “Net Plan Profits” means net profits determined in accordance with generally accepted
       accounting principles consistently applied: (a) less administrative payments which are due
       on or before the date on which Net Plan Profits are being calculated; (b) less any payments
       required by this plan, which are due on or before the date on which Net Plan Profits are
       being calculated, other than payments out of Net Plan Profits.

1.25   "Plan" means this Plan of Reorganization and any subsequent amendments.

1.26   "Post-Petition" means the Filing Date and the period after the Filing Date.

1.27   "Pre-Petition" means the period preceding the Filing Date.

1.28   "Priority Claim" means those expenses and claims which may be provided for under 11
       U.S.C. Section 507 (a) (2), (3), (4), (5), (6), (7), (8) and (9) of the Code.

1.29   "Proponent" means Debtor.

1.30   "Pro-rata Share" means the same proportions that a given Allowed Claim within a Class
       bears to the total allowed claim of such class.

1.31   "Reorganization Case" with respect to the Debtor means the reorganization case under
       Chapter 11 of the Bankruptcy Code.

1.32   "Secured Claim" means a claim allowed as secured in the real or personal property of the
       Debtor.

1.33   "Unsecured Claim" means an allowed claim other than an Administrative Expense
       Claim, Priority Claim, or a Secured Claim.




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                                    II.
            CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

2.0    UNCLASSIFIED CLAIMS

       A.     Administrative Expense Claims. Administrative Expense Claims shall consist of
       all administrative expense claims of the Debtor’s Chapter 11 case as allowed pursuant to
       § 503(b) of the code and given priority in accordance with § 507(a)(1) of the Code. These
       claims are divided into the following sub-categories:

              (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
              of Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in
              Bankruptcy. These legal fees, if approved by the Court, shall constitute an
              Administrative Expense Claim which is unimpaired and shall be paid in full as of
              the Effective Date of the Plan.

              (ii)    Decatur Mall, LLC: The Debtor owes an Administrative Expense Claim
              to its former landlord, Decatur Mall, LLC, for post-petition unpaid rent in the
              amount of $74,343.92, by Order dated February 26, 2018 [Doc. 268]. This
              Administrative Expense is unimpaired and shall be paid in full as of the Effective
              Date of the Plan. The Debtor and Decatur Mall, LLC, have agreed to settle this
              claim for $70,000.00 payable upon Confirmation becoming final. The balance the
              Decatur Mall, LLC, claim will be treated in Class 2 as an Allowed Unsecured
              Claim.

       B.     Tax Claims.

              (i)     The Allowed Tax Claims of the IRS.

              (ii)    The Allowed Tax Claims of ADOR.

              (iii)   The Allowed Tax Claim of any other taxing authorities.

2.01   UNIMPAIRED CLASSES

       All classes of claims are impaired under the Plan.

2.02   IMPAIRED CLASSES

       Class 1 – Allowed Secured Claims.

       Class 1(a) shall consist of the Allowed Secured Claim of United Leasing, Inc., in the
       amount of $25,800.00, accruing interest at 5.25%, per annum.

       Class 1(b) shall consist of the Allowed Secured Claim of Financial Pacific Leasing, Inc.,
       in the amount of $30,000.00, accruing interest at 5.25%, per annum.


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       Class 1(c) shall consist of the Allowed Secured Claim of Twickenham Commercial
       Lending, Inc., in the amount of $6,500.00, accruing interest at 5.25%, per annum.

       Class 1(d) shall consist of the Allowed Secured Claim of Direct Capital Corporation in the
       amount of $68,925.60, accruing interest at 5.25%, per annum.

       Prime Rate Premium Finance alleges a secured claim in the amount of $2,612.44. The
       Debtor asserts there is no value in any of its assets for this lien to attach. The Debtor seeks
       to strip off this lien in implementation of the Plan.

       Life Fitness alleges a secured claim in the amount of $2,317.26. The Debtor asserts there
       is no value in any of its assets for this lien to attach. The Debtor seeks to strip off this lien
       in implementation of the plan.

       Class 2 - Allowed Unsecured Claims.

       Class 2 shall consist of the Allowed Unsecured Claims of all other unsecured creditors.

       Class 3 – Equity Interest Holders.

       Class 3 shall consist of the equity position of Jeremy Goforth in the Debtor.

                                III.
         IMPAIRMENT AND TREATMENT OF CLASSES UNDER THE PLAN

        The Plan will be summarized by incorporation of pertinent portions. Other provisions of
the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.

3.0    TREATMENT OF UNCLASSIFIED CLAIMS

       A.       Administrative Expense Claims: This class shall consist of all administrative
expense claims of the Debtor's Chapter 11 case as allowed pursuant to § 503(b) of the Code and
given priority in accordance with § 507(a)(1) of the Code. This class is divided into the following
sub-classes:

               (i)   Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
               of Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in
               Bankruptcy. These legal fees, if approved by the Court, shall constitute an
               Administrative Expense Claim which is unimpaired and shall be paid in full as of
               the Effective Date of the Plan. The amount of professional compensation due at
               confirmation is estimated to be approximately $44,152.09.




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              (ii) Decatur Mall LLC: The Debtor owes an Administrative Expense Claim to
              its former landlord, Decatur Mall LLC, for post-petition unpaid rent in the amount
              of $74,343.92, by Order dated February 26, 2018 [Doc. 268]. This Administrative
              Expense is unimpaired and shall be paid in full as of the Effective Date of the Plan.
              The Debtor and Decatur Mall, LLC, have agreed to settle this claim for $70,000.00
              payable upon Confirmation becoming final. The balance the Decatur Mall, LLC,
              claim will be treated in Class 2 as an Allowed Unsecured Claim.

       B.     Tax Claims:

              (i) IRS: The IRS asserts two (2) Priority Claims in the total amount of
              $12,413.43. The Allowed Priority Claims of the IRS shall be paid sixty (60) equal
              monthly installments commencing sixty (60) days after the Effective Date of the
              Plan. Such payments shall be $228.61, at a rate of 4%, per month until paid. This
              payment will be paid direct by the Debtor.

              (ii) ADOR: The ADOR asserts two (2) Priority Claims in the total amount of
              $178.27. The Allowed Priority Claims of ADOR shall be paid sixty (60) days after
              the Effective Date of the Plan.

3.01   TREATMENT OF IMPAIRED CLAIMS

       Classified Claims:

       Class 1 – Secured Claims.

       Class 1(a) shall consist of the alleged Secured Claim of United Leasing, Inc., in the amount
       of $25,800.00, pursuant to the Court’s order dated November 20, 2017 [Doc. 178]. Class
       1(a) shall accrue interest at 5.25%. Class1(a) shall be paid in sixty (60) equal monthly
       installments commencing sixty (60) days after the Effective Date of the Plan. Such
       payments shall be $489.84, per month until paid. This payment will be paid direct by the
       Debtor. Any unsecured balance shall be paid through the plan as Allowed Unsecured
       Claims.

       Class 1(b) shall consist of the Allowed Secured Claim of Financial Pacific Leasing, Inc.,
       in the amount of $30,000.00. The Debtor reserves the right to change valuation of such
       claim. Class 1(b) shall accrue interest at 5.25%. Class 1(b) shall be paid per month in sixty
       (60) equal monthly installments commencing sixty (60) days after the Effective Date of the
       Plan. Such payments shall be $569.58, per month until paid. This payment will be paid
       direct by the Debtor.




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       Class 1(c) shall consist of the Allowed Secured Claim of the Twickenham Commercial
       Lending, Inc., in the amount of $6,500.00, accruing interest at 5.25%, per annum. The
       Debtor seeks to reduce the interest rate on this claim from 12.00% to 5.25%, per annum.
       Class 1(c) shall accrue interest at 5.25%. Class1(c) shall be paid in sixty (60) equal monthly
       installments commencing sixty (60) days after the Effective Date of the Plan. Such
       payments shall be $123.41, per month until paid. This payment will be paid direct by the
       Debtor.

       Class 1(d) shall consist of the Allowed Secured Claim of Direct Capital Corporation in the
       amount of $68,925.60. Class 1(d) shall accrue interest at 5.25%. Class 1(d) shall be paid
       per month in sixty (60) equal monthly installments commencing sixty (60) days after the
       Effective Date of the Plan. Such payments shall be $1,308.62, per month until paid. This
       payment will be paid direct by the Debtor.

       Class 2 - Allowed Unsecured Claims.

       Class 2 consists of the Allowed Unsecured Claims of all other unsecured creditors. The
       Allowed Unsecured Claims of the unsecured creditors will be paid from fifty percent (50%)
       of the Net Plan Profits of Debtor for three (3) years or until paid in full.

       Class 3 – Equity Interest Holders.

       Class 3 shall consist of the equity position of Jeremy Goforth in the Debtor. Mr. Goforth
       shall retain his interest in the Debtor.

                                      IV.
                   PROVISIONS FOR REJECTION AND ASSUMPTION
                           OF EXECUTORY CONTRACTS

        Pursuant to § 1123(b)(2) of the Bankruptcy Code, except for those executory contracts and
unexpired leases, if any, assumed pursuant to the Plan or as to which the Debtor has filed prior to
the Confirmation Date a motion to assume and assign or a motion to reject, all executory contracts
and unexpired leases to which the Debtor is or was a party and not previously rejected or assumed
and assigned pursuant to prior order of the Bankruptcy Court, including, without limitation, all
executive and employee severance, vacation, benefit and retirement plans, contracts and
agreements (including, but not limited to all stay or retention programs, incentive plans,
accelerated vesting plans, accelerated benefit plans, and any other plan, agreement, contract or
document relating to or providing for payments to executives or employees not part of recurring
salaries and wages), are deemed rejected pursuant to § 364(a) of the Bankruptcy Code as of the
Effective Date.




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                                          V.
                            MEANS OF EXECUTION OF THE PLAN

5.01 Means of Implementation of the Plan. Debtor shall implement the terms of the Plan by
executing all documents necessary. Debtor shall also execute such additional documents as are
necessary to comply with the terms of the Plan. In addition, the Plan will be funded by the
operations of the Debtor.

5.02 Execution of All Documents. The Plan authorizes the Debtor to execute all documents
necessary to carry out the terms of the Plan.

5.03 Objections to Claims and Allowances. No payment or distribution shall be made to the
holder of a claim against which an objection has been filed within thirty (30) days after the
Effective Date until any such objection to a claim has been determined by Final Order of the Court.
Disputed and unliquidated claims shall be estimated for purposes of voting and unless the Court
orders otherwise, payments to holders of contested claims that are subsequently allowed shall be
made in accordance with the terms of the Plan. Contest of claims shall be filed with the Court no
later than sixty (60) days after the Effective Date.

5.04 Retention of Assets. Except as provided for in the Plan or in the order confirming the
Plan, on the Confirmation Date the Debtor shall be vested with all of the property of the estate and
shall retain all property rights free and clear of all liens, charges, and other interests of the creditors.

                                     VI.
                  MODIFICATION AND CONFIRMATION OF THE PLAN

6.01 Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time
prior to Confirmation without leave of this Court, upon such notice as may be required by this
Court. If such modification is made after acceptance hereof, this Plan as so modified shall be
deemed accepted by all holders of claims and equity interests that have previously accepted this
plan, provided that this Court finds that such modification would not materially and adversely
change the treatment of the holders of claims or equity interests that have not accepted such
modification in writing.


6.02    Post-Confirmation Modifications.

        (a) Except as provided in Subsection (b) of this section, Debtor may modify this Plan after
        Confirmation only if this Court determines that this Plan as so modified meets all of the
        requirements for confirmation.

        (b)    Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan
        during the period between the Confirmation Date and the "substantial consummation,"
        provided that this Court determines only that such modification does not materially and
        adversely change the treatment of claims or equity interests but merely remedies a defect
        or omission or reconciles an inconsistency in or between this Plan and/or the Confirmation
        Order in such manner as may be necessary to carry out the purposes and effect hereof.

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6.03   Effect of Confirmation.

       (a) Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of a
       Claim whether or not (1) the Claim of such holder is impaired hereunder, or (2) such holder
       has accepted this plan.

       (b)     Except as otherwise provided herein or in the Confirmation Order, Confirmation
       vests all of the property of the estate in Debtor, free and clear of all claims.

       (c)     Except as provided for in §1141(d)(5), Confirmation discharges the Debtor from
       any debt that arose before the Confirmation Date and any claim of a kind specified in
       Section(s) 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof of
       claim is filed with respect thereto, (2) the debt appears in the schedules of liabilities filed
       by the Debtor, (3) the debt is allowed, or (4) the holder of such debt has accepted this Plan.
       (d)     Confirmation shall constitute approval or ratification by this Court of the
       assumption or rejection of the Debtor' executory contracts and unexpired leases pursuant
       to Section IV hereof.

       (e)     Confirmation shall constitute approval by this Court of all financing arrangements,
       leases, contracts, and other actions that the Debtor propose in the Disclosure Statement or
       herein, to enter into, make, or take in connection with implementation hereof, including the
       execution of any documents as of the Effective Date.


                                  VII.
              RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

7.01 Pursuant to § 1123 (b) (3) of the Code, the Debtor shall retain and may enforce any and all
claims of the Debtor except claims waived, relinquished, or released in accordance with the Plan.

7.02 No party in interest except the Debtor shall maintain or commence an action to recover a
preference as defined in § 547 (b) of the Code after the Confirmation Order is entered.

7.03 Contests of Claims shall be filed with the Court not later than thirty (30) days after the
Effective Date.

                                         VIII.
                              JURISDICTION OF THE COURT

8.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the
Reorganization Case for the following purposes:

       (a)    To determine any and all objections to the allowance of claims or interests;

       (b)    To determine any and all applications for allowances of compensation and
       reimbursement of expenses and any other fees and expenses authorized to be paid or
       reimbursed under the Bankruptcy Code or the Plan;

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       (c)     To determine any applications or motions pending on the Effective Date for the
       rejection, assumption, or assumption and assignment of any executory contract and to hear
       and determine, and if need be, to liquidate any and all claims arising therefrom;

       (d)    To determine any and all applications, adversary proceedings, and contested
       matters that may be pending on the Effective Date;

       (e)    To consider any modification of this Plan, remedy any defect or omission or
       reconcile any inconsistency in any Order of the Court, to the extent authorized by the Court;

       (f)     To determine all controversies, suits, and disputes that may arise in connection with
       the interpretation, enforcement, or consummation of the Plan or that may involve or affect
       the value of assets of the Company administered by the Plan;

       (g)     To consider and act on the compromise and settlement of any claim against or cause
       of action by or against the Debtor arising under or in connection with the Plan;

       (h)    To issue such orders in aid of execution of the Plan to the extent authorized by
       § 1142 of the Bankruptcy Code;

       (i)    To determine such other matters as may be set forth in any order or orders
       confirming the Plan or which may arise in connection with the Plan or any other Order or
       Orders confirming the Plan.

                                         IX.
                               MISCELLANEOUS PROVISIONS

9.01 Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for
the Northern District of Alabama are hereby incorporated by reference, including their terms,
conditions, benefits, requirements and obligations.

9.02 Cramdown. With respect to any class not accepting the Plan, the Proponents do hereby
request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the grounds that
the Plan does not discriminate unfairly and is fair and equitable with respect to each class of claims
that are impaired.

9.03 Quarterly Fees. The Debtor will make its quarterly fees to the Bankruptcy Administrator
pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments as required post-
petition.

9.04 Compliance with Tax Requirements. In connection with the Plan, the Debtor will
comply with all withholding and reporting requirements imposed by federal, state and local taxing
authorities, and all distributions hereunder shall be subject to such withholding and reporting
requirements.



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9.05 Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on
property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in full
according to the treatment proposed under the Plan at which time the lien shall be released.

9.06   Employment and Payment of Professionals.

       (a)     During the period between the Confirmation Date and the Effective Date, Debtor
       may (1) continue to avail itself of the services of professional persons whose employment
       was approved at or prior to Confirmation in completing the administration of this case and
       in the consummation and performance hereof, and (2) if necessary and with the approval
       of this Court, employ additional professional persons to render such services.

       (b)     With respect to services rendered and expenses incurred in or in connection with
       this case during such period by any such professional person, the professional person may
       render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,
       but each such payment shall be subject to review and approval by this Court as to the
       reasonableness thereof.

9.07 Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all
of the motions, and applications for compensation to professionals, and notices of such hearings
shall be limited to the Debtor, Bankruptcy Administrator and any party of interest directly affected
by such motion or application.

9.08 Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in
complete satisfaction, discharge, and release of all Allowed Claims, liens and encumbrances of
any nature whatsoever, including any interest accrued thereon from and after the Filing Date,
against the Debtor or any of its assets; and, except as otherwise provided herein, on Confirmation,
all such Allowed Claims against the Debtor or its assets, any other or further Allowed Claim based
upon any act or omission, transaction or other activity of any kind or nature that occurred prior to
Confirmation are satisfied, discharged and released.




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                                            V.
                                      CLOSING OF CASE

10.1 Procedure for Closing Case. If the Court concludes that a hearing on such motion would
be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy
Estate Administrator, and persons specially requesting notices at the hearing on confirmation.

       Respectfully submitted on April 19, 2018.

                                                     Debtor and Debtor-in-Possession

                                                     DECATUR ATHLETIC CLUB, LLC

                                                     By: Jeremy Goforth
                                                     Its: Owner
                                                     /s/ Jeremy Goforth
                                                     Jeremy Goforth

                                                     /s/ Stuart M. Maples
                                                     STUART M. MAPLES
                                                     (ABS-1974-S69S)

MAPLES LAW FIRM, PC
200 Clinton Ave. W, Suite 1000
Huntsville, Alabama 35801
(256) 489-9779 - Telephone
(256) 489-9720 – Facsimile
smaples@mapleslawfirmpc.com
Attorney for Debtor

                                  CERTIFICATE OF SERVICE

        I do hereby certify that on April 19, 2018, a copy of the foregoing document was served
on the following by Electronic Case Filing a copy of the same.

Richard Blythe
Bankruptcy Administrator
P.O. Box 3045
Decatur, Alabama 35602

All parties requesting notice

All parties on the matrix attached hereto

                                                            /s/ Stuart M. Maples
                                                            STUART M. MAPLES

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Label Matrix for local noticing           Corporation Service Company           Decatur Athletic Club, LLC
1126-8                                    c/o Marks & Associates PC             1801 Beltline Rd., Suite 425
Case 17-81439-CRJ11                       PO Box 11386                          Decatur, AL 35601-5501
NORTHERN DISTRICT OF ALABAMA              Birmingham, AL 35202-1386
Decatur
Thu Apr 19 08:09:41 CDT 2018
Decatur Mall, LLC                         Direct Capital Corporation            Pawnee Leasing Corporation
c/o Heath Trousdale                       155 Commerce Way                      Engel, Hairston & Johanson, P.C.
102 South Court St Ste 319                Portsmouth, NH 03801-3243             Attn: William L. Phillips, III
Florence, AL 35630-5633                                                         P.O. Box 11405
                                                                                Birmingham, AL 35202-1405

Steering Committee                        Twickenham Commercial Lending, Inc.   United Leasing, Inc.
c/o Akin Gump Strauss Hauer & Feld LLP    403 Andrew Jackson Way                Marks & Associates PC
One Bryant Park                           Huntsville, AL 35801-3631             PO Box 11386
Bank of America Tower                                                           Birmingham, AL 35202-1386
New York, NY 10036-6745

Western Equipment Finance, Inc.           U. S. Bankruptcy Court                **Direct Capital Corporation
PO Box 640                                400 Well Street                       Amy Sinclair
Devils Lake, ND 58301-0640                P. O. Box 2775                        155 Commerce Way
                                          Decatur, AL 35602-2775                Portsmouth, NH 03801-3243


**Financial Pacific Leasing               **Hull Property Group                 **Internal Revenue Service
3455 S. 344th Way Ste 300                 1190 Interstate Parkway               Centralized Insolvency Operations
Federal Way, WA 98001-9546                Augusta, GA 30909-6404                PO Box 7346
                                                                                Philadelphia, PA 19101-7346


**Pawnee Leasing                          **United Leasing                      **Western Equipment Finance
3801 Automation Way #207                  3700 E. Morgan Ave.                   654 Amherst Rd Ste 301
Fort Collins, CO 80525-5735               Evansville, IN 47715-2240             Sunderland, MA 01375-9420



Alison Tindal                             Allegra Print & Imaging               Corporation Service Company
703 Holland Dr. SW                        804 Beltline Rd, SW                   c/o Matthew D Evans
Decatur, AL 35601-4729                    Decatur, AL 35601-6338                PO Box 11386
                                                                                Birmingham AL 35202-1386


Decatur Mall, LLC                         Internal Revenue Service              Internal Revenue Service
c/o Heath Trousdale, Esq.                 Insolvency Staff                      P.O. Box 7346
102 South Court Street                    Attention: Geraldine Banks            Philadelphia, PA 19101-7346
Suite 319                                 801 Broadway M/S MDP 146
Florence, AL 35630-5633                   Nashville, TN 37203

James A. Early                            Jeremy Goforth                        Joyce White Vance
615 Grant St.                             2924 Legacy Dr.                       US Attorney General
Decatur, AL 35601-3123                    Decatur, AL 35603-4488                1801 4th Ave North
                                                                                Birmingham, AL 35203-2101


Life Fitness/Brunswick Corporation        Loretta Lynch US Attorney General     Luther Strange
Alicia Cecconi                            US Dept. of Justice                   Alabama Attorney General
9525 Bryn Mawr Ave                        950 Pennsylvania Ave NW               PO Box 300152
Rosemont IL 60018-5249                    Washington, DC 20530-0009             Montgomery, AL 36130-0152

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Prime Rate Premium Finance                           Secretary of the Treasury                            State of Alabama
PO Box 100507                                        1500 Pennsylvania Ave., NW                           Department of Revenue Legal Division
Florence, SC 29502-0507                              Washington, DC 20220-0001                            PO Box 320001
                                                                                                          Montgomery, AL 36132-0001


TCF Equipment Finance                                TCF Equipment Finance                                (c)TIMEPAYMENT CORP.
11100 Wayzata Blfd. Ste 801                          11100 Wayzata Blvd. Ste 801                          1600 DISTRICT AVE STE 200
Minnetonka, MN 55305-5503                            Minnetonka, MN 55305-5503                            BURLINGTON MA 01803-5233



U.S. Securities and Exchange Commission              United Leasing, Inc.                                 United States Attorney
Regional Director, Branch of Reorganizat             P.O. Box 11386                                       Northern District of Alabama
Atlanta Regional Office, Suite 900                   Birmingham, AL 35202-1386                            1801 Fourth Avenue North
950 East Paces Ferry Road                                                                                 Birmingham, AL 35203-2101
Atlanta, GA 30326-1180

United States Bankruptcy Administrator               Western Equipment Finance, Inc.                      Insolvency Section Internal Revenue Service
Northern District of Alabama                         Jon R. Brakke, Vogel Law Firm                        801 Broadway
1800 Fifth Avenue North                              218 NP Avenue                                        MDP 146, Room 285
Birmingham, AL 35203-2111                            PO Box 1389                                          Nashville, TN 37203-3816
                                                     Fargo, ND 58107-1389

Richard Blythe                                       Richard M Blythe                                     Stuart M Maples
BA Decatur                                           United States Bankruptcy Administrator               Maples Law Firm, PC
P O Box 3045                                         PO Box 3045                                          200 Clinton Avenue W.
Decatur, AL 35602-3045                               Decatur, AL 35602-3045                               Suite 1000
                                                                                                          Huntsville, AL 35801-4919



                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


TimePayment Corp.
16 NE Executive Park #200
Burlington, MA 01803




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)**Twickenham Commercial Lending, Inc.             (d)Jeremy Goforth                                    End of Label Matrix
403 Andrew Jackson Way                               2924 Legacy Dr.                                      Mailable recipients    44
Huntsville, AL 35801-3631                            Decatur, AL 35603-4488                               Bypassed recipients     2
                                                                                                          Total                  46




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